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 5

 6

 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,                      )   2:12-CR-0395-PMP-GWF
                                                    )
11                   Plaintiff,                     )
                                                    )   STIPULATION FOR PROTECTIVE ORDER
12                   vs.                            )
                                                    )
13   EDWARD LIU,                                    )
                                                    )
14                   Defendants.                    )
                                                    )
15

16            IT IS HEREBY STIPULATED AND AGREED between the parties, DANIEL G.

17   BOGDEN, United States Attorney for the District of Nevada, and KIMBERLY M. FRAYN,

18   Assistant United States Attorney, counsel for the United States, and R. DARREN CORNFORTH,

19   ESQ., counsel for defendant EDWARD LIU, that this Court issue an Order protecting from

20   disclosure to the public any discovery documents containing the personal identifying information

21   and financial identifying information of participants, witnesses and victims in this case. Such

22   documents shall be referred to hereinafter as “Protected Documents.” The parties state as follows:

23            1.    “Protected Documents” are any documents containing the personal identifying

24   information and financial identifying information, such as, names, social security numbers,

25   drivers’ license numbers, dates of birth, addresses, debit card and credit card account numbers,

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 1   financial lines of credit account numbers, bank account numbers, and Personal Identification

 2   Numbers (PINs), of participants, witnesses and victims in this case.

 3            2.    Protected Documents will be used by the government in its case in chief in this

 4   case.

 5            3.    Discovery in this case is voluminous and include many Protected Documents.

 6   Redacting the personal identifying information and financial identifying information of

 7   participants, witnesses, and victims would prevent the timely disclosure of discovery to

 8   defendants.

 9            4.    The United States agrees to provide Protected Documents without redacting the the
10   personal identifying information and financial identifying information of participants, witnesses,

11   and victims.

12            5     Access to Protected Documents will be restricted to persons authorized by the

13   Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

14   and secretaries employed by the attorney(s) of record and performing on behalf of defendant.

15            6.    The following restrictions will be placed on defendant, defendant’s attorney(s) and

16   the above-designated individuals, unless and until further ordered by the Court. Individuals with

17   authorized access to Protected Documents shall not:

18                  a.      make copies for, or allow copies of any kind to be made by any other person

19   of Protected Documents;
20                  b.      allow any other person to read Protected Documents; and

21                  c.      use Protected Documents for any other purpose other than preparing to

22   defend against the charges in the Indictment or any further superseding indictment arising out of

23   this case.

24            7.    Defendant’s attorney(s) shall inform any person to whom disclosure may be made

25   pursuant to this order of the existence and terms of this Court’s order.

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 1            8.    The requested restrictions shall not restrict the use or introduction as evidence of

 2   discovery documents containing the personal identifying information and financial identifying

 3   information during the trial of this matter.

 4            9.    Upon conclusion of this action, defendant’s attorney(s) shall return to government

 5   counsel or destroy and certify to government counsel the destruction of all discovery documents

 6   containing personal identifying information and financial identifying information within a

 7   reasonable time, not to exceed thirty days after the last appeal is final.

 8

 9   DANIEL G. BOGDEN
     United States Attorney
10

11   /s/ Kimberly M. Frayn                                  November 15, 2012
     KIMBERLY M. FRAYN                                      DATE
12   Assistant United States Attorney

13

14   /s/ R. Darren Cornforth                                November 15, 2012
     R. DARREN CORNFORTH                                    DATE
15   Counsel for defendant
     EDWARD LIU
16

17

18                                                  ORDER

19                                    16th
              IT IS SO ORDERED this ________           November
                                             day of __________________ 2012.
20

21                                                  _________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
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